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June 14, 2012

Mr. Dan Bythewood
La Cite Development, LLC
237 West 35th Street, 4th Floor
New York, NY 10001

SENT VIA EMAIL


RE: Project financing; development of a 456-unit multifamily rental
community located in Baltimore, MD ("Property")

Dear Mr. Bythewood:

Wells Fargo Bank, N.A. (t.qe "Bank") is pleased to offer the following Financing
Proposal for permanent credit enhancement of fixed rate, tax-exempt bonds issued to
Poppleton Development I, LLC (the "Sponsor") for the development of Center West-
Phases 1A & 1B (the "Project"), a proposed 456-unit rental community in Baltimore,
MD.

This financing proposal is not intended to be, and should not be construed as a final
commitment to provide such credit enhancement, and all terms and conditions herein
are subject to change based on due diligence and underwriting. Issuance of a final
commitment will be subject to final underwriting and due diligence including but not
linrited to receipt and review of all third party reports.

The proposed terms and conditions are as follows:

Proposed Loan Terms - Funded Forward Commitment
Borrower:                         TBD Single Asset Entity controlled by La Cite
                                  Development, LLC

Guarantor:                        TBD; for typical non-recourse carve-outs only.

Proposed Loan Amount:             $41,623,000         PhaselA
                                  $33.204.000         PhaselB
                                  $74,8 27,000

Min. Debt Service Coverage:       1·15:1.00

Max. Loan to Value:               90% of market value




                                                                  Exhibit 43 to
                                                                  Verified Complaint
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Construction Period:            Forward Commitment term of 24 months with one, 6-
                                month extension at the discretion of WFMC and
                                Freddie Mac.

Loan Term:                      18 years.

Amortization:                   35 years.

Freddie Mac
Construction Facility Fee:      TED. Based on rating of Construction Letter of Credit
                                provider.

Freddie Mac
Permanent Facility Fee:         'The estimated Credit Enhancement and Servicing Fee
                                ("Facility Fee") for the Permanent Loan is currently
                                estimated at 1.35%. 'The all-in rate is estimated to be
                                5.50%. The bond rate is subject to market conditions
                                until the time the bonds 3.1"-e sold int{) the public
                                market. 'The Facility Fee is subject to market
                                fluctuations and Freddie Mac's pricing decisions.

Recourse:                       Non-recourse, with standard carve-outs

Loan Security:                  First lien mortgage

Prepayment:                     The loan will include a fee maintenance period of 15
                                years.

Assumability:                   Subject to WFMC's and Freddie Mac's prior written
                                approval and payment of an Assumption Fee of 1% of
                                the unpaid principal balance of the Mortgage Loan
                                and all direct expenses associated with the
                                assumption incurred by WFMC. Each request for
                                approval mnst be accompanied by a $3,000 non-
                                refundable Review Fee.

Tax and Insurance Impounding: Commencing upon Permanent Loan Conversion, real
                              estate taxes and insurance premiums must be
                              escrowed with WFMC on a monthly prorated basis at
                              an amount sufficient to enable WFMC to pay (at least
                              30 days before due) all taxes, assessments, insurance
                              premiums or other similar cl!arges affecting tlle
                              Property.

Required Insurance Coverage:   All risk coverage acceptable to WFMC and Freddie
                               Mac.

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 Replacement Reserve:              Replacement reserves will be escrowed beginning at
                                   Permanent Loan Conversion. Subject to results of the
                                   Physical Needs Assessment, ongoing Replacement
                                   Reserve escrow may be adjusted based on the amount
                                   of upfront deposit to the Replacement Reserve
                                   Account.

LIHTC Equity:                      LIHTC Equity of $3,702,412 (Phase tA) and
                                   $3,272,954 (Phase 1B) is expected for this transaction.

LIHTC Investor:                    TBD. Equity provider must be approved by WFMC
                                   and Freddie Mac.

Subordinate Debt:                  Subordinate debt is not allowed without the prior
                                   approval of Freddie Mac and WFMC. All subordinate
                                   debt must conform to Freddie Mac guidelines and a
                                   subordination agreement in a form ac~eptable to both
                                   Freddie Mac and Lender must be executed.

Loan Documentation:                Standard Freddie Mac loan documents will be utilized
                                   for the loan closing.

Section 8 HAP Contracts:          Generally, loans with project based rental subsidy will
                                  be underwritten at the lesser of tax credit, HAP
                                  contract, or market rent. Waivers are possible on a
                                  case by case basis with HAP contracts with terms
                                  equal to or longer than the term of the permanent
                                  financing or other special conditions.

Fees and Costs

ApIllication Deposit:        A $30~000 non-refundable apI>lication fee ("Aplllication
Fee") payable to WFMC. The APPlication Fee will be applied against expeuses Incurred
in the processing of the loan, including, as applicable, aI>praisal, environmental report,
engineerinz report, preliminary title report, market study, preliminary legal expens~l
and miscellaneous underwriting costs. Applicant is resJ:lonsible for the payment of au
reasonable costs incurred in connection with the underwriting, processing and/or
closing of the loan (including Lender and Freddie Mac legal fees).
Freddie Mac Almlication Fee: Applicant shall deliver to WFMC a Freddie Mac
Application Fee which is equaI to tlie greater of $3,000 or 0.10% of the loan amount.
This fee is in addition to the Application Deposit.
Lender Commitment Fee. A Lender Commitment Fee equal to the greater of 1.00% of
the Credit Enhancement Amount or $75,000 (the "Lender Commitment Fee").




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Forward Commitment Deposit Fee. A Forward Commitment Deposit Fee equal to
1.00% of the credit enhancement amount payable to Freddie Mac on or before
Commitment. This fee will be returned no later than thirty (30) days after Permanent
Loan Conversion. This fee will be retained if the loan does not convert to a permanent
mortgage loan. The Forward Commitment Deposit Fee is payable in cash or acceptable
letter of credit.
Conversion Costs. Borrower agrees to pay all out of pocket conversion costs, including
any required third party reports and Lender's legal fees. A deposit to cover costs may be
required at the time of conversion.
Construction Monitoring. Wells Fargo reguires a Construction Monitoring Fee, in the
amount of $10,000, to be paid at constructIOn loan closing.
Freddie Mac Counsel Fees. Borrower will be responsible for payment of Freddie Mac's
outside counsel fees.
Other Costs. Applicant is responsible for costs of survey, title insurance policy, hazard
insurance policy, tax escrow fee and all other normal and customary loan closing
expenses"

The Bank's current understanding of the project and this financing proposal is based on
the budget submitted by the Sponsor. The Bank acknowledges that this project budget
is subject to change. This letter does not represent a final commitment by the Bank for
the proposed financing, nor does it define all of the terms and conditions of loan
documents, but is a framework upon which a loan request may be submitted.

Issuance of a final commitment by the Bank is subject to the approval of the loan
request under the Bank's internal approval process, which includes, but is not limited to,
a review of the Borrower's then financial condition and a review and approval of all third
party reports, in addition to completion of loan documents in form and substance
acceptable to the Bank.
If you should have any questions, please feel free to call me at (301) 280-7523. Thank
you for the opportunity to serve your project financing needs.

Sincerely,




Justin Shackleford
Vice President
Wells Fargo Multifamily Capital


Wells Fargo Multifamily Capital
